USDC IN/ND case 2:18-cr-00099-TLS-JEM document 206 filed 10/19/20 page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 UNITED STATES OF AMERICA

                        v.                             CAUSE NO.: 2:18-CR-99-3-TLS-JEM

 MARK COPELAND


              ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 199], filed on September 30, 2020. The Defendant has waived

objections to the Findings and Recommendation.

       The Court finds that the change of plea conducted by video teleconference complies with

Section 15002(b)(2)(A) of the CARES Act. First, General Orders 2020-08, 2020-20, and 2020-

29 authorized video conferencing for felony pleas under Federal Rule of Criminal Procedure 11,

finding that such hearings cannot be conducted in person without seriously jeopardizing public

health and safety as a result of the current COVID-19 pandemic.

       The Court also finds that the Defendant’s felony plea in this case cannot be delayed

without serious harm to the interests of justice due to Defendant’s desire to admit his guilt, plead

guilty, and proceed to sentencing in a timely manner and the government and public interest in

timely processing criminal matters.

       Finally, the Defendant consented to video teleconferencing after consultation with

counsel. See CARES ACT § 15002(b)(4). On September 30, 2020, the same day as the Change

of Plea Hearing, the Defendant submitted a Consent to Appear by Video Teleconference [ECF

No. 196], in which he provided his consent for court proceedings to be conducted by video

teleconference and indicated that his consent was provided freely and voluntarily and that no
USDC IN/ND case 2:18-cr-00099-TLS-JEM document 206 filed 10/19/20 page 2 of 2


threats or promises were made to compel him to sign the form. Defendant also orally consented

to proceed by video teleconference and waived his right to appear in person. ECF No. 198.

         The Court being duly advised, ADOPTS the Findings and Recommendation [ECF No.

199] in their entirety and ACCEPTS the recommended disposition. Subject to this Court’s

consideration of the Plea Agreement pursuant to Federal Rule of Criminal Procedure 11(c), if

applicable and necessary, the plea of guilty to the offense charged in Count 1 of the Indictment is

hereby ACCEPTED, and the Defendant is adjudged GUILTY of the offense.

         The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

order.

         SO ORDERED on October 19, 2020.

                                              s/ Theresa L. Springmann
                                              JUDGE THERESA L. SPRINGMANN
                                              UNITED STATES DISTRICT COURT




                                                 2
